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                              UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

   UNITED STATES OF AMERICA,

   vs.                                                     CASE NO. 8:10CR98-T-EAK-TBM

   JEFFREY MILES EARNEST
                                               /

                                               ORDER

          This cause comes before the Court on notice from the Office of the Federal Defender
   that it has satisfied the requirements set forth in the Court’s Omnibus Order In Re:
   Amendment 782, United States Sentencing Guidelines, 6:14-MC-78-ORL-22 (“Omnibus
   Order”), and notification that the office will not be filing a Motion for Sentence Reduction
   under Amendment 782 on behalf of Defendant Ernest pursant to the retroactive application of
   revised sentencing guidelines (Doc. 495). The Defendant in this case has not filed a motion
   for reduction in sentence under Amendment 782. The Court will allow the Defendant to file a
   a motion requesting a reduction before it determines the matter. Accordingly, it is.
          ORDERED that defendant has up to and including March 31, 2016, to file a motion

   and memorandum in support of his contention that his sentence should be reduced. The

   government is directed to file a response to any filings within fifteen days of the date of any

   filing from the defendant. The Court will rule on the issue as soon as possible after that date.

   The Federal Defender is withdrawn from this matter.

          This 1st day of February, 2016.
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   Copies to: All parties and counsel of record
